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                        UNITED STATES DISTRICT COURT

                              DISTRICT OF MAINE


UNITED STATES OF AMERICA                 )
                                         )
                                         )
                                         )
v.                                       )               CRIMINAL NO. 99-79-P-H-04
                                         )
PAUL W. MOUNTS,                          )
                                         )
                   DEFENDANT             )


              ORDER ON DEFENDANT’S MOTION TO MODIFY
                      CONDITIONS OF RELEASE


      The defendant, about halfway through a twenty-year sentence imposed

by Judge Gene Carter, has moved for the amendment of a condition of

supervised release (a condition that applies only after he gets out of prison). I

DENY the motion.

      In the original sentence imposed in 2000, Judge Carter included the

following condition of supervised release applicable once the defendant is

released from Bureau of Prisons’ custody:                 “Defendant shall have no

communication      or   contact   with       any   and   all   codefendants   including,

specifically, Heidi Chaffee.” Mem. of Sentencing J. as to Paul W. Mounts at 7

(Docket Item 344).      Judge Carter noted that the defendant objected to the

restriction on contact with Heidi Chaffee, but Judge Carter imposed the

condition nonetheless. Id.

      The defendant has now moved to have the restriction lifted, observing

among other things that Heidi Chaffee has no criminal record related to the
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defendant, that they were engaged to be married, that she was pregnant with

his child before a miscarriage, and that they are still in love and intend to be

married. Mot. to Modify Conditions of Release at 1-2 (Docket Item 662).

      Because I was not the sentencing judge, I obtained a transcript of Judge

Carter’s sentencing hearing. On the issue of this particular condition Judge

Carter stated in open court:

            My resolution of that issue is that it is especially essential
            that he have no contact with her, not only for his own
            benefit but principally for hers.       I have heard from
            testimony at her trial, which is sufficient to lead me to the
            conclusion that he was principally responsible for leading
            her into the conduct that exposed her to the risk of trial,
            and it continues to precipitate her exposure to him,
            ultimately to the possible prosecution for another offense.
            So I’m satisfied there is a basis for the Court in both their
            ability to preclude them from interaction with each other.

Tr. Sentencing Proceedings 20:4-14, Dec. 20, 2000 (Docket Item 372). Judge

Carter was referring to the fact that Ms. Chaffee had been acquitted in a trial at

which Judge Carter presided and that in addition the defendant had persuaded

her to bring contraband (cigarettes) to him in the county jail (the attempt was

unsuccessful) while he was awaiting sentencing by Judge Carter. She was not

prosecuted for the latter conduct.

      The defendant has not pointed to anything that has changed since Judge

Carter imposed the sentencing condition in question.           The government has

resisted the request to remove it.

      I conclude that it is premature to remove the condition at this time.

There will be time enough to consider removing it when the defendant is

actually released and goes under supervision.         He can request modification


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then, and the judge can then obtain from the supervising officer an assessment

of the risks of the association, if any, as well as Ms. Chaffee’s position on the

matter.

      I presume that the defendant is raising the question now in hopes that

removing the condition now might influence how the Bureau of Prisons treats

his communication with or visits from Ms. Chaffee.         What the Bureau of

Prisons does on that score is up to the Bureau of Prisons. The existence of the

condition should not be read as a request by this Court that Bureau of Prisons

restrict the defendant’s communication with or visits from Ms. Chaffee.

      SO ORDERED.

      DATED THIS 28TH DAY OF APRIL, 2010


                                           /s/D. Brock Hornby
                                           D. BROCK HORNBY
                                           UNITED STATES DISTRICT JUDGE




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